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3                               UNITED STATES DISTRICT COURT

4                            SOUTHERN DISTRICT OF CALIFORNIA
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6       NUTRITION DISTRIBUTION LLC,                CASE NO. 3:16-cv-02338-BTM-MDD
        an Arizona Limited Liability
7       Company,
                                                   ORDER TO DISMISS
8
                       Plaintiff,
9
        vs.
10
        NEW HEALTH VENTURES, LLC, a
11      Pennsylvania Limited Liability
12      Company, and DOES 1 through 10,
        inclusive,
13
                       Defendants.
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              In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff
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     Nutrition Distribution, LLC, and Defendant New Health Ventures, LLC, have requested
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     that the Court dismiss all claims in the above-captioned action with prejudice.
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              IT IS HEREBY ORDERED that the Court GRANTS the parties’ joint stipulation,
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     and all claims in the case are hereby dismissed with prejudice.
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     Dated: 08/22/2018_________                     _______________________________
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                                                    Hon. Barry Ted Moskowitz
23                                                  District Judge
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